                    IN THE UNITED STATES DISTRICT COURT
                 NORTHERN DISTRICT OF OHIO, EASTERN DIVISION

 ROCHELLE GLASGOW et al.                      ) CASE NO: 5:21-CV-02001
                                              )
        Plaintiffs,                           ) JUDGE DAVID A. RUIZ
                                              )
 v.                                           )
                                              ) DEFENDANTS’ STATUS REPORT
 DANIEL J. BEERS et al.,                      )
                                              )
        Defendants.                           )
                                              )

       Now come Defendants, Daniel J. Beers, Daniel Beers II, Dr. Benjamin Beers, Rachel

Beers, Thomas Fabris, Brandon Fabris, Cost Sharing Solutions, LLC (“CSS”) and The Medical

Cost Savings Solution, LTD (“MCS”) (collectively referred to as “Defendants”), by and through

undersigned counsel, and hereby submits their status report as follows:

       1.      Pending Motions:

       1/21/22        Defendant Douglas Behrens Motion for a More Definite Statement

under FRCP 12(e), Plaintiffs filed their opposition brief on February 4, 2022.

       1/25/22        Vendor Party Defendants Motion to Dismiss for lack of subject matter

jurisdiction under FRCP 12(b)(1), Plaintiffs filed their omnibus opposition brief on March

11, 2022, reply brief filed on March 31, 2022.

       1/25/22        Defendants Bennie Beers and Rachel Beers Motion to Dismiss for lack

of subject matter jurisdiction under FRCP 12(b)(1) and for failure to state a claim under

FRCP 12(b)(6), Plaintiffs filed their omnibus opposition brief on March 11, 2022, reply brief

filed on March 31, 2022.

       1/25/22        Defendants Pamela Johnson and Matt Bellis Motion to Dismiss for

failure to state a claim under FRCP 12(b)(6) or alternatively, Motion for a More Definite
Statement under FRCP 12(e), Plaintiffs filed their opposition brief on March 11, 2022. Reply

filed on April 1, 2022.

        1/25/22        Liberty Defendants Motion to Dismiss for lack of subject matter

jurisdiction under FRCP 12(b)(1) and for failure to state a claim under FRCP 12(b)(6),

Plaintiffs filed their omnibus opposition brief on March 11, 2022. Reply filed on April 1,

2022.

        2.      Status of Discovery:

        The Parties have exchanged initial disclosures. Defendants have circulated a Joint

Protective Order for review to Counsel, however, the Defendants have not received a

response to date.

        3.      Settlement and/or Mediation:

        Defendants are not in a position to consider settlement or mediation at this time in

light of the pending motions.

        4.      Upcoming Conferences:

        None.

        5.      Additional Matters:

        There are no additional matters the Parties believe should be brought to the Court’s

attention at this time by law of this Joint Status Report.

                                                   Respectfully Submitted,

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    LTD




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                               CERTIFICATE OF SERVICE

       The foregoing was served upon the following via email through this Court’s ECF Filing

system, this 13th day of September, 2022:

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